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 8                               UNITED STATES DISTRICT COURT

 9                            NORTHERN DISTRICT OF CALIFORNIA

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11 TRUSTLABS, INC, a Delaware                Case No. 3:21-cv-02606-CRB
   Corporation,
12                                           [PROPOSED] ORDER GRANTING PLAINTIFF
                    Plaintiff,               TRUSTLABS, INC.’S MOTION TO EXTEND
13
                                             FACT DISCOVERY DEADLINE AND DEADLINE
                    v.                       TO FILE DISPOSITIVE MOTIONS
14

15 DANIEL JAIYONG AN,                        Complaint Filed:   April 9, 2021
                                             Judge:             Hon. Charles R. Breyer
16                     Defendant.

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     [PROPOSED] ORDER MOTION TO EXTEND DISCOVERY                    CASE NO. 3:21-cv-02606-CRB
     DEADLINE AND DEADLINE TO FILE DISPOSITIVE MOTIONS
             Case 3:21-cv-02606-CRB Document 91 Filed 07/14/23 Page 2 of 2


           Pursuant to plaintiff TrustLabs, Inc.’s (“Plaintiff”) Motion to Extend Fact Discovery Deadline and
 1

 2 Deadline to File Dispositive Motions, and for good cause shown,

 3         IT IS HEREBY ORDERED that the fact discovery cut-off deadline shall be extended to October

 4 18, 2023, and the deadline for the Court to hear dispositive motions shall be continued to November 20,

 5 2023.

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           IT IS SO ORDERED
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                                                        _______________________________________
     Dated: ___________________
              July 14, 2023
11                                                     HONORABLE CHARLES R. BREYER
12                                                     United States District Judge

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     [PROPOSED] ORDER GRANTING STIPULATION                                      CASE NO. 3:21-cv-02606-CRB
     TO CONTINUE CASE MANAGEMENT CONFERENCE
